 

Case 1:08-cv-00705-JDB Document 42-2 Filed 10/31/09 Page 1 of 2

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA
TRITA PARSI
and
NATIONAL IRANIAN AMERICAN COUNCIL Civ. No.: 08 CV 00705 (JDB)
Plaintiffs,
v.
SEID HASSAN DAJOLESLAM,

Defendant.

 

 

AFFIDAVIT OF TRITA PARSI IN SUPPORT OF THE MOTION FOR EMERGENCY
PROTECTIVE ORDER SEEKING TO PROHIBIT THE DEFENDANT FROM
DISCLOSING ANY AND ALL INFORMATION GAINED THROUGH DISCOVERY
FROM PLAINTIFFS WITH PARTIES OUTSIDE OF LITIGATION

In support of the attached Motion for Protective Order, Dr. Trita Parsi, President of NIAC
(the National Iranian American Council), makes this statement and affidavit upon oath and
affirmation of personal knowledge that the following matters, facts, and things set forth are true
and correct:

We (at NIAC) have concerns regarding sharing any and all discovery material with the

Defendant absent a Protective Order which prohibits from disclosure all of our material to

outside parties unrelated to the litigation for the following reasons:

1. On October 29, 2009, I was called into the offices of the Washington Times to be
interviewed by Eli Lake for a story he was doing on me and my organization with the aim of
"showing that we are a lobby" and that we act as an "intermediary" and "fixer" for the

government of Iran.
 

 

Case 1:08-cv-00705-JDB Document 42-2 Filed 10/31/09 Page 2 of 2

2. The basis of Lake's assertions was in his own words the discovery material we had
provided opposing counsel.
3. Lake said he had studied the discovery material in detail.
4. Indeed, he shared much of the discovery material, including board minutes and other
material, with us in the course of the 2 hour and 40 minute interview.
5. The nature of the interview itself was clearly aimed at further defaming and hurting our
organization, by taking select pieces of the discovery out of context and presenting it in a
disingenuous way.
6. Later that day, I received an email from opposing counsel, confirming that Sidley Austin
was directly involved in sending the discovery material to the Washington Times.

I DO SOLEMNLY DECLARE AND AFFIRM under the penalty of perjury that the
contents of the foregoing documents are true and correct to the best of my knowledge,

information and belief.

Date: October 30 2009

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=e,

Dr. Trita Parsi

President of NIAC

1411 K St. NW, Suite 600
Washington, DC 20005
